
The Disciplinary Review Board having filed with the Court its decision in DRB 13-263, that SASHA C. INTRIAGO of ELIZABETH, who was admitted to the bar of this State in 2007, should be reprimanded for violating RPC 8.4(b) (committing a criminal act that reflects adversely on the lawyer's honesty, trustworthiness, or fitness as a lawyer), and good cause appearing;
It is ORDERED that SASHA C. INTRIAGO is hereby reprimanded; and it is further **21ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
